   2:18-mn-02873-RMG           Date Filed 08/22/23    Entry Number 3603        Page 1 of 15




                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF SOUTH CAROLINA


IN RE: AQUEOUS FILM-FORMING FOAMS PRODUCTS                  )   Master Docket No.:
LIABILITY LITIGATION                                        )   2:18-mn-2873-RMG


                                                            )
CITY OF CAMDEN, et al.,                                     )   Civil Action No.:
                                                            )   2:23-cv-3230-RMG
              Plaintiffs,                                   )
                                                            )
-vs-                                                        )
                                                            )
E.I DUPONT DE NEMOURS AND COMPANY (n/k/a                    )
EIDP, Inc.), et al.,                                        )
                                                            )
              Defendants.



       Before the Court is the Motion of proposed Class Counsel for Preliminary Approval of

Settlement Agreement (the “Preliminary Approval Motion”), pursuant to Rules 23(a), 23(b), and

23(e) of the Federal Rules of Civil Procedure, which seeks: (1) Preliminary Approval of the

Settlement Agreement; (2) preliminary certification, for settlement purposes only, of the

Settlement Class; (3) approval of the form of Notice to the Settlement Class; (4) approval of the

Notice Plan; (5) appointment of Class Counsel; (6) appointment of Class Representatives;

(7) appointment of the Notice Administrator; (8) appointment of the Claims Administrator; (9)

appointment of the Special Master; (10) appointment of the Escrow Agent; (11) approval of the

Escrow Agreement; (12) establishment of the Qualified Settlement Fund; (13) scheduling of a

Final Fairness Hearing; and (14) a stay of all proceedings brought by Releasing Persons in the

MDL and in other Litigation in any forum as to Settling Defendants, and an injunction against the

filing of any new such proceedings. (Dkt. No. 3392). The settling parties have agreed to certain

modifications to the Settlement Agreement documented at (C.A. 2:23-3230, Dkt. No. 30).

       WHEREAS, a proposed Settlement Agreement has been reached by and among (i) Class

                                                                                         Page 1
     2:18-mn-02873-RMG         Date Filed 08/22/23      Entry Number 3603        Page 2 of 15



Representatives, individually and on behalf of the Settlement Class Members, by and through

Class Counsel, and (ii) defendants The Chemours Company, The Chemours Company FC, LLC,

DuPont de Nemours, Inc., Corteva, Inc., and E.I. DuPont de Nemours and Company n/k/a EIDP,

Inc.;

        WHEREAS, the Court, for the purposes of this Order Granting Preliminary Approval,

adopts all defined terms as set forth in the Settlement Agreement;

        WHEREAS, this matter has come before the Court pursuant to the Preliminary Approval

Motion;

        WHEREAS, Settling Defendants do not oppose the Court’s entry of this Order Granting

Preliminary Approval;

        WHEREAS, the Court finds that it has jurisdiction over the action and each of the Parties

for purposes of settlement and asserts jurisdiction over the Class Representatives for purposes of

considering and effectuating the Settlement Agreement;

        WHEREAS, the Court has considered all of the presentations and submissions related to

the Preliminary Approval Motion and, having presided over and managed the proceedings in the

MDL as Transferee Judge since December 7, 2018, pursuant to the Transfer Order of the same

date, is familiar with the facts, contentions, claims, and defenses as they have developed in these

proceedings, and is otherwise fully advised of all relevant facts in connection therewith;

        IT IS HEREBY ORDERED AS FOLLOWS:

I.      PRELIMINARY APPROVAL OF SETTLEMENT AGREEMENT

        1.     The Court finds that the requirements of Rules 23(a)(1)-(4), 23(b), and 23(e) of the

Federal Rules of Civil Procedure have been satisfied for purposes of preliminary approval of the

Settlement Agreement as modified by (C.A. No. 2:23-3230, Dkt. No. 30), such that notice of the

Settlement Agreement should be directed to Settlement Class Members and a Final Fairness


                                                                                             Page 2
      2:18-mn-02873-RMG        Date Filed 08/22/23      Entry Number 3603          Page 3 of 15



Hearing should be set.

         2.    The Settlement Agreement, as modified by (C.A. 2:23-3230, Dkt. No. 30),

including all Exhibits attached thereto, is preliminarily approved by the Court.

II.      FINDINGS REGARDING THE SETTLEMENT CLASS

         3.    The Settlement Class consists of, only for purposes of the Settlement Agreement:

                 (a)     All Public Water Systems in the United States of America that draw or

                         otherwise collect from any Water Source that, on or before the Settlement

                         Date, was tested or otherwise analyzed for PFAS and found to contain any

                         PFAS at any level; and

                 (b)     All Public Water Systems in the United States of America that, as of the

                         Settlement Date, are (i) subject to the monitoring rules set forth in UCMR

                         5 (i.e., “large” systems serving more than 10,000 people and “small”

                         systems serving between 3,300 and 10,000 people), or (ii) required under

                         applicable state or federal law to test or otherwise analyze any of their

                         Water Sources or the water they provide for PFAS before the UCMR 5

                         Deadline.

         4.    The following are excluded from the Settlement Class:

                 (a)     Any Public Water System that is located in Bladen, Brunswick,

                         Columbus, Cumberland, New Hanover, Pender, or Robeson counties in

                         North Carolina; provided, however, that any such system otherwise

                         falling within clauses (a) or (b) of Paragraph 3 of this Order will be

                         included within the Settlement Class if it so requests.

                 (b)     Any Public Water System that is owned and operated by a State

                         government and cannot sue or be sued in its own name, which systems


                                                                                           Page 3
   2:18-mn-02873-RMG           Date Filed 08/22/23       Entry Number 3603          Page 4 of 15




                         within clauses (a) and (b)(i) of Paragraph 3 of this Order are listed in

                         Exhibit I to the Settlement Agreement.

                 (c)     Any Public Water System that is owned and operated by the federal

                         government and cannot sue or be sued in its own name, which systems

                         within clauses (a) and (b)(i) of Paragraph 3 of this Order are listed in

                         Exhibit J to the Settlement Agreement.

                 (d)     Any privately owned well or surface water system that is not owned by,

                         used by, or otherwise part of, and does not draw water from, a Public

                         Water System within the Settlement Class.

       5.      The Court finds that it will likely be able to certify the Settlement Class for purposes

of judgment on the proposed Settlement Agreement. The Settlement Class is likely to meet the

numerosity, commonality, typicality, and adequacy requirements of Rule 23(a)(1)-(4) of the

Federal Rules of Civil Procedure and the predominance and superiority requirements of Rule

23(b)(3) of the Federal Rules of Civil Procedure.

       6.      The following Class Representatives are preliminarily appointed for purposes of

the Settlement: City of Camden; City of Brockton; City of Sioux Falls; California Water Service

Company; City of Delray Beach; Coraopolis Water & Sewer Authority; Township of Verona;

Dutchess County Water and Wastewater Authority and Dalton Farms Water System; South Shore;

City of Freeport; Martinsburg Municipal Authority; Seaman Cottages; Village of Bridgeport; City

of Benwood; Niagara County; City of Pineville; and City of Iuka.

       7.      Subject to final approval by the Court of class certification, the Court provisionally

appoints: Michael A. London and the law firm of Douglas & London; Scott Summy and the law

firm of Baron & Budd; Paul J. Napoli and the law firm of Napoli Shkolnik; Joe Rice and the law

firm of Motley Rice, LLC; and Elizabeth

                                                                                              Page 4
    2:18-mn-02873-RMG           Date Filed 08/22/23      Entry Number 3603         Page 5 of 15




Fegan and the law firm of Fegan Scott LLC as Class Counsel under Rule 23(g)(3) of the Federal

Rules of Civil Procedure.

 III.   FINDINGS REGARDING THE SETTLEMENT AGREEMENT

        8.        Under Rule 23(e)(2) of the Federal Rules of Civil Procedure, in order to approve

 the proposed Settlement Agreement, the Court must determine whether it is fair, reasonable, and

 adequate. Rule 23(e)(2) sets forth factors that the Court must consider in reaching that

 determination.

        9.        The Parties have provided the Court sufficient information, including in the

 Preliminary Approval Motion and related submissions and presentations, to enable the Court to

 determine whether to give notice of the proposed Settlement Agreement to the Settlement Class.

 The proposed Settlement Agreement is the product of intensive, arm’s-length, non-collusive

 negotiations overseen by the Court-appointed mediator, Honorable Layn Phillips; has no obvious

 deficiencies; does not improperly grant preferential treatment to the Class Representatives; and is

 fair, reasonable, and adequate. Accordingly, the Court has taken the Rule 23(e)(2) factors and

 applicable precedent into account in finding that it will likely be able to approve the proposed

 Settlement Agreement as fair, reasonable, and adequate.

        10.       Various parties filed objections to the Settlement Agreement. (C.A. No. 23-3230,

 Dkt. Nos. 17, 18). As it concerns the objections of Plaintiff Roosevelt County Water Coop, Inc.

 (“Roosevelt”), (C.A. No. 23-3230, Dkt. No. 17), Roosevelt objects that the opt-out/objection

 period is too short and the “allocation procedures” do not provide class members the opportunity

 to make an informed decision. The Court overrules said objections. As to the objection the opt-out

 period is too short, the parties have amended the Settlement Agreement and extended the opt-out

 period from 60 to 90 days. Thus, the Court finds the objection in large part moot and overrules,

 finding, in any event, the proposed opt-out and objection periods reasonable. In re Potash Antitrust


                                                                                            Page 5
   2:18-mn-02873-RMG           Date Filed 08/22/23      Entry Number 3603         Page 6 of 15



Litig., 161 F.R.D. 411, 414 (D. Minn. 1995) (“The selection of the appropriate period, during

which potential class members may consider the advisability of class membership, is almost

wholly an exercise of the Court's discretion. In selecting a 60–day period, we are satisfied that the

period allowed will neither compel an unnecessarily rushed response, nor will it lull the potential

class member into complacency.”). As to allocation procedures, Roosevelt argues that because an

“allocated award” is based in part on the “sum of all adjusted base scores,” a putative class member

cannot estimate its “allocated award” because the “sum of all adjusted base scores” “cannot be

calculated until well after the pool of class members has been determined, thereby forcing putative

class members to make a blind decision regarding whether to opt-out.” (Id. at 3). The Court

overrules this objection—Roosevelt cites no case law requiring putative class members know exact

settlement sums before opting out and, indeed, it appears caw law states the opposite. See

McAdams v. Robinson, 26 F.4th 149, 158 (4th Cir. 2022) (“Nor was the notice inadequate because

it didn't estimate the class members' recovery. In general, it would be difficult, if not impossible,

for parties to reliably predict the number of valid claims when drafting notices. Indeed, the

Longform Notice acknowledges this difficulty: ‘The amount of this payment will depend on how

many Settlement Class Members file valid claims and how each Settlement Class Member answers

questions in the Claim Form.’”); see also Doe v. Déjà Vu Consulting, Inc., 925 F.3d 886, 901 (6th

Cir. 2019) (noting “the Objectors cite no authority that requires a notice to state how much money

each class member would receive, nor do they explain how the notice could have accurately stated

the amount each dancer was eligible to receive from the cash pool before knowing the total number

of dancers who opted to participate in the cash pool. The notice appropriately details the two forms

of monetary relief, including the total cash pool amount and the structure and value of the

secondary pool credits, which is reasonable under the circumstances.”). Plaintiffs Town of East

Hampton, Town of Islip, and Town of Harrington (“Towns”) also filed objections to the Settlement


                                                                                            Page 6
   2:18-mn-02873-RMG            Date Filed 08/22/23     Entry Number 3603         Page 7 of 15



Agreement. (C.A. No. 2:23-3230, Dkt. No. 18). The Towns object that while the Settlement

Agreement includes “public water systems that have incurred or will incur costs to remediate

PFAS,” it excludes entities like the Towns which seek “cost recovery from expenses to remediate

PFAS contaminated superfund sites.” (Id. at 2). The Court overrules the Towns’ objections.

Because they are not class members, and have failed to show plain legal prejudice, the Towns do

not have standing to object, and the Court declines to consider their objections. In re: Mi Windows

& Doors Inc. Prod. Liab. Litig., No. 2:12-MN-00001-DCN, 2015 U.S. Dist. LEXIS 184471, 2015

WL 12850547, at *10 (D.S.C. July 22, 2015), aff'd, 860 F.3d 218 (4th Cir. 2017) (“Under Rule

23(e), only class members have standing to object to a proposed settlement”); see also Gould v.

Alleco, Inc., 883 F.2d 281, 284 (4th Cir. 1989) (“Rule 23(e) clearly contemplates allowing only

class members to object to settlement proposals.”); Bragg v. Robertson, 54 F. Supp. 2d 653, 664

(S.D.W. Va. 1999) (“Formal legal prejudice occurs where a non-settling defendant is ‘strip [ped]

of a legal claim or cause of action,’ or where the agreement interferes with his contract rights or

his ability to seek indemnification or contribution. Conversely, a ‘showing of injury in fact, such

as the prospect of a second lawsuit or the creation of a tactical advantage, is insufficient’ to meet

the standard.”) (internal citations omitted).

       11.     The Court finds that it will likely be able to approve, under Rule 23(e)(2) of the

Federal Rules of Civil Procedure, the proposed Settlement Agreement.

IV.    NOTICE TO SETTLEMENT CLASS MEMBERS

       12.     Under Rule 23(c)(2) of the Federal Rules of Civil Procedure, the Court finds that

the Notice set forth in Exhibit E to the Settlement Agreement, the Summary Notice set forth in

Exhibit F to the Settlement Agreement, and the Notice Plan set forth in Exhibit G to the Settlement

Agreement, (a) is the best practicable notice; (b) is reasonably calculated under the circumstances

to apprise Settlement Class Members of the pendency of this action and the Settlement Agreement


                                                                                            Page 7
     2:18-mn-02873-RMG           Date Filed 08/22/23   Entry Number 3603         Page 8 of 15




and of their right to object to or exclude themselves from the proposed Settlement Class; (c) is

reasonable and constitutes due, adequate, and sufficient notice to all Persons entitled to receive

notice; and (d) meets all applicable requirements of Rule 23 of the Federal Rules of Civil

Procedure, the United States Constitution (including the Due Process Clause), and other applicable

laws and rules.

        13.       The Court approves the Notice, the Summary Notice, and the Notice Plan, and

hereby directs that the Notice and the Summary Notice be disseminated pursuant to the Notice

Plan to Settlement Class Members under Rule 23(e)(1) of the Federal Rules of Civil Procedure.

        14.       The Notice Plan shall commence no later than fourteen (14) calendar days after

entry of this Order Granting Preliminary Approval—namely, no later than September 5, 2023

so as to commence the period during which Settlement Class Members may opt out from the Settlement

Class and Settlement or object to the Settlement.

V.      PROCEDURE FOR REQUESTS FOR EXCLUSION AND OBJECTIONS

        15.       The procedure for Requests for Exclusion set forth in Paragraph 9.7 of the

Settlement Agreement and the instructions in the Notice regarding the procedures that must be

followed to opt out of the Settlement Class and Settlement are approved.

        16.       Any Settlement Class Member wishing to opt out of the Settlement Class and

Settlement must submit a written Request for Exclusion to the Notice Administrator, and serve a

copy of such written request on Class Counsel and Settling Defendants’ Counsel at the addresses

set forth in the Notice. Such written request must be received by the Notice Administrator no later

than the date ninety (90) calendar days following the commencement of the Notice Plan (as

described in Paragraph 13 of this Order), which is the last day of the opt out period. The last day

of the opt out period is December 4, 2023.




                                                                                          Page 8
   2:18-mn-02873-RMG          Date Filed 08/22/23      Entry Number 3603         Page 9 of 15




       17.     To be effective, the Request for Exclusion must certify, under penalty of perjury in

accordance with 28 U.S.C. § 1746, that the filer has been legally authorized to exclude the Person

from the Settlement and must: (a) provide an affidavit or other proof of the standing of the Person

requesting exclusion and why they would be a Settlement Class Member absent the Request for

Exclusion; (b) provide the filer’s name, address, telephone and facsimile number and email address

(if available); (c) provide the name, address, telephone number, and e-mail address (if available)

of the Person whose exclusion is requested; and (d) be received by the Notice Administrator no

later than the date specified in Paragraph 15 of this Order. No “mass,” “class,” “group” or

otherwise combined Request for Exclusion shall be valid, and no Person within the Settlement

Class may submit a Request for Exclusion on behalf of any other Settlement Class Member. Any

Settlement Class Member that does not submit a timely and valid Request for Exclusion submits

to the jurisdiction of the Court and, unless the Settlement Class Member submits an Objection that

complies with the provisions of Paragraphs 19 through 21 of this Order, shall waive and forfeit

any and all objections the Settlement Class Member may have asserted.

       18.     Pursuant to Section 10 of the Settlement Agreement, the Settling Defendants shall

have the option, in their sole discretion, to terminate the Settlement Agreement following notice

of Requests for Exclusion if any of the conditions set forth in Paragraph 10.1 of the Settlement

Agreement are satisfied. Settling Defendants shall have until fourteen (14) Business Days after

the deadline for submitting Requests for Exclusion set forth in Paragraph 15 of this Order to

provide Class Counsel notice of their exercise of the Walk-Away Right. The Notice Administrator

shall provide Settling Defendants access to all Requests for Exclusion as they are served on the

Notice Administrator.




                                                                                          Page 9
  2:18-mn-02873-RMG           Date Filed 08/22/23      Entry Number 3603         Page 10 of 15




       19.     The procedure for objecting to the Settlement or to an award of fees or expenses to

Class Counsel, as set forth in Paragraph 9.6 of the Settlement Agreement, is approved.

       20.     A Settlement Class Member who wishes to object to the Settlement or to an award

of fees or expenses to Class Counsel must file a written and signed statement designated

“Objection” with the Clerk of the Court and serve a copy of such Objection on Class Counsel and

Settling Defendants’ Counsel at the addresses set forth in the Notice. All Objections must certify,

under penalty of perjury in accordance with 28 U.S.C. § 1746, that the filer has been legally

authorized to object on behalf of the Settlement Class Member and must provide (a) an affidavit

or other proof of the Settlement Class Member’s standing; (b) the name, address, telephone and

facsimile number and email address (if available) of the filer and the Settlement Class Member;

(c) the name, address, telephone, and facsimile number and email address (if available) of any

counsel representing the Settlement Class Member; (d) all objections asserted by the Settlement

Class Member and the specific reason(s) for each objection, including all legal support and

evidence the Settlement Class Member wishes to bring to the Court’s attention; (e) an indication

as to whether the Settlement Class Member wishes to appear at the Final Fairness Hearing; and

(f) the identity of all witnesses the Settlement Class Member may call to testify.

       21.     All Objections shall be filed and served no later than the date sixty (60) calendar

days following the commencement of the Notice Plan (as described in Paragraph 13 of this Order),

which is the last day of the objection period.         The last day of the objection period is

November 4, 2023. Any Objection not filed and served by such date shall be deemed

waived.

       22.     A Settlement Class Member may object either on its own or through an attorney

hired at that Settlement Class Member’s own expense, provided the Settlement Class Member has

not submitted a written Request for Exclusion. An attorney asserting objections on behalf of a

                                                                                          Page 10
  2:18-mn-02873-RMG             Date Filed 08/22/23      Entry Number 3603         Page 11 of 15



Settlement Class Member must, no later than the deadline for filing Objections specified in

Paragraph 20 of this Order, file a notice of appearance with the Clerk of Court and serve a copy of

such notice on Class Counsel and Settling Defendants’ Counsel at the addresses set forth in the

Notice.

          23.    Any Settlement Class Member who fully complies with the provisions of Paragraph

9.6 of the Settlement Agreement and Paragraphs 19 through 21 of this Order may, in the Court’s

discretion, appear at the Final Fairness Hearing to object to the Settlement or to the award of fees

and costs to Class Counsel. Any Settlement Class Member who fails to comply with the provisions

of Paragraph 9.6 of the Settlement Agreement and Paragraphs 19 through 21 of this Order shall

waive and forfeit any and all objections the Settlement Class Member may have asserted.

          24.    The assertion of an Objection does not operate to opt the Person asserting it out of,

or otherwise exclude that Person from, the Settlement Class. A Person within the Settlement Class

can opt out of the Settlement Class and Settlement only by submitting a valid and timely Request

for Exclusion in accordance with the provisions of Paragraph 9.7 of the Settlement Agreement and

Paragraphs 15 to 16 this Order.

25.       No later than December 6, 2023, the Notice Administrator shall prepare and file with the

          Court and serve on Class Counsel and Settling Defendants’ Counsel, a list of all Persons who

          have timely filed and served Requests for Exclusion or Objections.

VI.       FINAL FAIRNESS HEARING

          26.    A Final Fairness Hearing shall take place on the 14th day of December, 2023 at

10 o’clock in the a.m., U.S. Court House, 85 Broad St., Charleston, South Carolina, at which the

Court will consider submissions regarding the proposed Settlement Agreement, including any

Objections, and whether: (a) to approve thereafter the Settlement Agreement as fair, reasonable,

and adequate, pursuant to Rule 23 of the Federal Rules of Civil Procedure, (b) to certify the


                                                                                             Page 11
    2:18-mn-02873-RMG           Date Filed 08/22/23       Entry Number 3603         Page 12 of 15



 Settlement Class, and (c) to enter the Order Granting Final Approval; (d) enter judgment

 dismissing the Released Claims as set forth in the Settlement Agreement; and (e) permanently

 enjoin any Settlement Class Member from asserting or pursuing any Released Claim against any

 Released Person in any forum as provided in Paragraph 9.8 of the Settlement Agreement. The Final

 Fairness Hearing shall be subject to adjournment by the Court without further notice, other than

 that which may be posted by the Court on the Court’s website.

         27.     Class Counsel shall file a motion for attorneys’ fees, costs, and Class

 Representative service awards no later than October 15, 2023.

         28.     Class Counsel and Settling Defendants’ Counsel shall file any papers in support of

 Final Approval of the Settlement Agreement, and any responses to any Objections, no later than

 November 14, 2023.

 VII.    STAY ORDER AND INJUNCTION

        29.      All litigation in any forum brought by or on behalf of a Releasing Person and that

asserts a Released Claim, and all Claims and proceedings therein, are hereby stayed as to the

Released Persons, except as to proceedings that may be necessary to implement the Settlement. All

Releasing Persons are enjoined from filing or prosecuting any Claim in any forum or jurisdiction

(whether federal, state, or otherwise) against any of the Released Persons, and any such filings are

stayed; provided, however, that this Paragraph shall not apply to any Person who files a timely and

valid Request for Exclusion beginning as of the date such Request for Exclusion becomes effective.

This Paragraph also shall not apply to any lawsuits brought by a State in any forum or jurisdiction.

The provisions of this Paragraph will remain in effect until the earlier of (i) the Effective Date, in

which case such provisions shall be superseded by the provisions of the Order Granting Final

Approval, and (ii) the termination of the Settlement Agreement in accordance with its terms. This

Order is entered pursuant to the Court’s Rule 23(e) findings set forth above, in aid of its jurisdiction


                                                                                               Page 12
   2:18-mn-02873-RMG          Date Filed 08/22/23      Entry Number 3603       Page 13 of 15



over the members of the proposed Settlement Class and the settlement approval process under Rule

23(e).

 VIII. OTHER PROVISIONS

         30.   Matthew Garretson of Wolf/Garretson LLC, P.O. Box 2806, Park City, UT 8406 is

 appointed to serve as the Special Master and is appointed as the “administrator” of the Qualified

 Settlement Fund escrow account within the meaning of Treasury Regulations § 1.468B-2(k)(3).

         31.   Dustin Mire of Eisner Advisory Group, 8550 United Plaza Boulevard, Suite #1001,

 Baton Rouge, LA is appointed to serve as the Claims Administrator.

         32.   Robyn Griffin, The Huntington National Bank, One Rockefeller Center, 10th Floor,

 New York, NY 10020 is appointed to serve as the Escrow Agent.

         33.   Steven Weisbrot, Angeion Group, 1650 Arch Street, Suite 2210, Philadelphia, PA

 19103, is appointed to serve as the Notice Administrator.

         34.   The Court has reviewed the proposed Escrow Agreement and Section 7 of the

 Settlement Agreement and approves the Escrow Agreement and Section 7 of the Settlement

 Agreement and authorizes that the escrow account established pursuant to the Escrow Agreement

 be established as a “qualified settlement fund” within the meaning of Treasury Regulations

 § 1.468B-1. Such account shall constitute the Qualified Settlement Fund as defined in the

 Settlement Agreement.

         35.   The “holdback assessment” required by Case Management Order No. 3 (Entry

 No. 72), entered by the Court on April 26, 2019, shall be assessed upon the Effective Date,

 before any portion of the Settlement Funds is distributed to Settlement Class Members or Class

 Counsel.




                                                                                          Page 13
  2:18-mn-02873-RMG            Date Filed 08/22/23       Entry Number 3603          Page 14 of 15




        36.     If the Settlement Agreement is terminated or is not consummated for any reason,

the Court’s findings with respect to certification of the Settlement Class shall be void, the

Litigation against the Released Persons for all purposes will revert to its status as of the Settlement

Date, and any unexpended Settlement Funds shall be returned to Settling Defendants as provided

in Paragraphs 9.9, 9.10, or 10.4 of the Settlement Agreement, as applicable. In such event, Settling

Defendants will not be deemed to have consented to certification of any class, and will retain all

rights to oppose, appeal, or otherwise challenge, legally or procedurally, class certification or any

other issue in the Litigation. Likewise, if the Settlement does not reach Final Judgment, then the

participation in the Settlement by any Class Representative or Settlement Class Member cannot

be raised as a defense to their claims.

        37.     The deadlines set forth in Paragraphs 14, 16, 21, and 25 of this Order may be

extended, and the Final Fairness Hearing may be adjourned, by Order of the Court, for good cause

shown, without further notice to the Settlement Class Members, except that notice of any such

extensions or adjournments shall be posted on a website maintained by the Notice Administrator,

as set forth in the Notice.

        38.     Class Counsel, Settling Defendants’ Counsel, the Special Master, the Notice

Administrator, and the Escrow Agent are authorized to take, without further Court approval, all

actions under the Settlement Agreement that are permitted or required to be taken following entry

of this Order Granting Preliminary Approval and prior to entry of the Order Granting Final

Approval, including effectuation of the Notice Plan.

        39.     Class Counsel and Settling Defendants’ Counsel are authorized to use all

reasonable procedures in connection with administration and obtaining approval of the Settlement

Agreement that are not materially inconsistent with this Order Granting Preliminary Approval or




                                                                                              Page 14
  2:18-mn-02873-RMG            Date Filed 08/22/23     Entry Number 3603        Page 15 of 15




the Settlement Agreement, including making, without further approval of the Court or notice to

Settlement Class Members, minor changes to the Settlement Agreement, to the form or content of

the Notice, or otherwise to the extent the Parties jointly agree such minor changes are reasonable

and necessary.

       40.       The Court shall maintain continuing jurisdiction over these proceedings (including

over the administration of the Qualified Settlement Fund) for the benefit of the Settlement Class.



SO ORDERED this          22nd day of August           , 2023.
                                                           s/Richard Mark Gergel
                                                          The Honorable Richard M. Gergel
                                                          United States District Judge




                                                                                           Page 15
